UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                                                1/25/22
  United States of America,

                   –v–
                                                                       22-cr-6 (AJN)
  Pierre Girgis,
                                                                          ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       The Court hereby schedules an initial conference in this matter for February 16, 2022, at

10:00 a.m. The proceeding will take place in person in Courtroom 906 of the Thurgood

Marshall United States Courthouse, 40 Foley Square, New York, New York.

       The Court hereby excludes time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A),

from today’s date through February 16, 2022. The Court finds that the ends of justice served by

granting this exclusion from speedy trial computations outweigh the interests of the public and

the Defendant in a speedy trial because the time is necessary for the parties to prepare for the

initial conference. Counsel for the Defendant has indicated consent to this exclusion of time.

       SO ORDERED.



 Dated: January 25, 2022
        New York, New York
                                                  ____________________________________
                                                            ALISON J. NATHAN
                                                          United States District Judge
